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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE

GLY CONSTRUCTION, INC.,                     No. 2:20-cv-1221-RSM

                        Plaintiff,          REVISED STIPULATED MOTION AND ORDER
                                            FOR LIMITED MODIFICATION OF SCHEDULING
        v.                                  ORDER RE DISCLOSURE OF EXPERT TESTIMONY
                                            TO OCTOBER 29 2021
NEW HAMPSHIRE INSURANCE CO.,
                                            Noting Date: October 22, 2021
                        Defendants.


        The parties are pursuing discovery in this insurance company suit. Based on the

current deposition settings, the parties’ agreement, and the parties’ good-faith and

collaborative discovery efforts to date, the parties jointly request that the Court FIND good

cause under Fed. R. Civ. P. 16(b)(4) and MODIFY the scheduling order in one respect, as

follows: As to the disclosure of expert testimony under FRCP 26(a)(2) the parties

respectfully request an extension, to October 29, 2021 (revised from the prior request of

October 22, 2021).

        The parties make the above request with the expectation and agreement that this

extension will not affect other case schedule deadlines, including particularly the discovery

completion deadline and the deadline for filing dispositive motions. (In so stating, the


REVISED STIPULATED MOTION AND ORDER FOR LIMITED
MODIFICATION OF SCHEDULING ORDER (TO OCTOBER 29,
2021) - 1 of 2 (2:20-cv-1221-RSM)
[GLY C20-1221 stip order modify schedo]
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parties also wish to inform the Court that, for separate reasons, they recently have

discussed a potential need to request a continuance of the trial date itself and certain

related deadlines, and will separately inform the Court if they determine to make such a

request.)


 Dated this 22nd day of October, 2021.          Dated this 22nd day of October, 2021.

 GROFF MURPHY                                   GORDON THOMAS HONEYWELL LLP


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                                                Attorneys for Defendant New Hampshire
                                                Insurance Company




        SO ORDERED.

        DATED this 26th day of October, 2021.




                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE




REVISED STIPULATED MOTION AND ORDER FOR LIMITED
MODIFICATION OF SCHEDULING ORDER (TO OCTOBER 29,
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[GLY C20-1221 stip order modify schedo]
